             Case 8:22-cr-00440-PX Document 29 Filed 01/23/23 Page 1 of 1



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        UNITED STATES DISTRICT COURT
               ---------- DISTRICT OF MARYLAND -------

                                         APPEARANCE
 UNITED STATES                                     :
                                                   :
                                                   :
        v.                                         :       Case No. PX-22-0440
                                                   :
 NADER POURHASSAN,                                 :
                                                   :
        Defendant.                                 :


                                  NOTICE OF APPEARANCE

To the Clerk of this Court and all parties of record:

       Please enter my appearance as counsel in this case for Nader Pourhassan. I certify that I

am admitted to practice in this court.



January 23, 2022                                                    /s/
Date                                          KATHERINE TANG NEWBERGER (#27803)
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